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Room C-151

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RE: VIOXX - PRODUCTS LIABILITY LITIGATIONS
Anthony Mercurio - Docket #06-1512

Dear Sir/Madam:

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Submitted herewith for filing and disposition is a motion in the above matter to withdraw

Document #15660.

Thank you for all courtesies.

RJW:cv
enc

CC: Russ M. Herman, Esq.
Phillip Wittmann, Esq.

